Case 1:22-cr-00313-JEB Document 10 Filed 11/10/22 Page 1of1
U.S. Department of Justice

United States Attorneys

 

 

United States District Court
for the District of Columbia

UNITED STATES OF AMERICA

 

V. Case No, 22-CR-313 (JEB)

Roger Kent Baugh

|. Upon a representation by the United States that the defendant has never been subject of "routine
processing” (booking, fingerprinting, photographing) in this case:

2. Itisthe 10th =. day of November, 2022. ORDERED:

 

3, That if the defendant is released on bond, that he or she be accompanied, on November 19, 2022,
with U.S. Capitol Police Special Agent Richard Larity, and an FBI Special Agent designated by Special

Agent Larity to the United States Marshal's Office in Louisville, KY, and to.the Louisville Metro

 

Police Department for "routine processing," and that this be a condition of being released on bond:
4. That if the defendant is not released on bond, the United States Marshall shall release the defendant
to the custody of U.S.C.P. Special Agent Richard Larity in the District of Columbia for the purpose of

“routine processing,” and at the conclusion thereof to return the defendant to the custody of the Marshal.

AS_—

Judge Jj mee Boasberg

DOJ USA-16-80
COURT
